Case 2:20-cv-09582-JFW-E Document 487 Filed 02/28/23 Page 1 of 6 Page ID #:38217




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  11
     [Additional counsel continued on next page]
  12
  13                         UNITED STATES DISTRICT COURT
  14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
       VANESSA BRYANT,                           Case No. 2:20-cv-09582-JFW-E
  16
                    Plaintiff,                   JOINT NOTICE OF SETTLEMENT
  17                                             AND STIPULATION TO AMEND
            vs.                                  COMPLAINT AND SET CASE
  18                                             DEADLINES
       COUNTY OF LOS ANGELES, et al.,
  19                                             [Proposed Order Filed Concurrently
                    Defendants.                  Herewith]
  20
                                                 Assigned to the Hon. John F. Walter
  21                                             and Magistrate Judge Charles F. Eick
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                  JOINT NOTICE OF SETTLEMENT AND STIPULATION TO AMEND COMPLAINT
                                       AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487 Filed 02/28/23 Page 2 of 6 Page ID #:38218




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                JOINT NOTICE OF SETTLEMENT AND STIPULATION TO AMEND COMPLAINT
                                     AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487 Filed 02/28/23 Page 3 of 6 Page ID #:38219




   1          Plaintiff Vanessa Bryant and Defendants Los Angeles County Sheriff’s
   2 Department, County of Los Angeles, Los Angeles County Fire Department, Joey
   3 Cruz, Rafael Mejia, Michael Russell, and Raul Versales (collectively, “Defendants”)
   4 hereby notify the Court that:
   5          (a) they have entered into a settlement agreement resolving the claims
   6 asserted by Vanessa Bryant in this matter;
   7          (b) the settlement agreement also resolves similar claims asserted against
   8 Defendants by Plaintiff’s adult child, Natalia Bryant, and Plaintiff’s minor children,
   9 B.B. and C.B.;
  10          (c) the settlement agreement as to all parties is conditional upon court
  11 approval of the settlement with respect to the minor children, B.B. and C.B.; and
  12          (d) the parties believe it would be most efficient for this Court to consider the
  13 petition to approve the settlement with respect to the minor children, for which
  14 purpose they have agreed to amend the operative complaint in this case to ensure
  15 that the minors’ claims being settled are the subject of a pending action in this
  16 Court;
  17          (e) amendment of the Complaint to add claims by the minor children is proper
  18 under FRCP 15(a)(2), including because there has not yet been a trial of Plaintiff’s
  19 state law claims and the opposing party consents to the amendment, and under
  20 FRCP 20(a), including because the minors’ claims arise from the same occurrences
  21 as Vanessa Bryant’s and present common questions of law and fact; and
  22          (f) amendment of a federal complaint to add claims by additional minor
  23 children in order to provide an efficient forum for their proposed settlements to be
  24 reviewed and approved is supported by precedent, e.g., Allen v. Robert’s Am.
  25 Gourmet Food, Inc., No. 2:07-CV-02661, Mot. to Amend to Join Additional
  26 Plaintiffs (Dkt. No. 55), 2009 WL 479238 (E.D.N.Y. Jan. 12, 2009), granted Jan.
  27 27, 2009.
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                  JOINT NOTICE OF SETTLEMENT AND STIPULATION TO AMEND COMPLAINT
                                       AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487 Filed 02/28/23 Page 4 of 6 Page ID #:38220




   1         Therefore, Plaintiff Vanessa Bryant, on behalf of herself and her minor
   2 children B.B. and C.B., and Defendants hereby stipulate as follows:
   3         (1) Plaintiffs Vanessa Bryant, B.B., and C.B. may file a Second Amended
   4 Complaint adding B.B. and C.B. as plaintiffs and asserting claims by B.B. and C.B.
   5 that are similar to those asserted by Vanessa Bryant, a copy of which is attached
   6 hereto as Exhibit 1;
   7         (2) Defendants waive notice and service of the Second Amended Complaint
   8 and shall not be required to answer the amendment, and all denials, responses and
   9 affirmative defenses contained in the answer filed by Defendants to the First
  10 Amended Complaint shall be deemed responsive to the Second Amended
  11 Complaint, including as to allegations by plaintiffs B.B. and C.B.;
  12         (3) The parties shall file a petition to approve the settlement as to minor
  13 children B.B. and C.B., consistent with L.R. 17-1.2 et seq. and applicable
  14 substantive and procedural requirements of California law, no later than March 28,
  15 2023, and any hearing thereon shall be set for the first available date after the
  16 petition is filed;
  17         (4) All other case deadlines—including the deadline for Plaintiff Vanessa
  18 Bryant file an opposition to Defendants’ renewed Motion pursuant to Federal Rule
  19 of Civil Procedure 50(b), the deadline for Plaintiff Vanessa Bryant to submit a
  20 statement regarding whether she intends to pursue her state law causes of action, and
  21 the deadline for Plaintiff Vanessa Bryant to file her motion for attorneys’ fees and
  22 related nontaxable expenses pursuant to Federal Rule of Civil Procedure 54(d)(2)—
  23 shall be vacated pending the parties’ filing of and the Court’s ruling on the petition
  24 to approve the settlement as to the minor children; and
  25         (5) Should it be necessary to reschedule any of the vacated deadlines
  26 following the Court’s ruling on the petition, the parties shall submit a stipulation for
  27 Court approval within one week of the Court’s ruling.
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                 JOINT NOTICE OF SETTLEMENT AND STIPULATION TO AMEND COMPLAINT
                                      AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487 Filed 02/28/23 Page 5 of 6 Page ID #:38221




   1 DATED: February 28, 2023           WILSON SONSINI GOODRICH & ROSATI,
                                        Professional Corporation
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   4
                                        By:           /s/ Luis Li
   5
                                                          LUIS LI
   6
                                        Attorneys for Plaintiffs Vanessa Bryant, B.B.
   7
                                        and C.B
   8
   9 DATED: February 28, 2023           OFFICE OF COUNTY COUNSEL
  10
  11
                                        By:          /s/ Jonathan McCaverty
  12
                                                    JONATHAN C. McCAVERTY
  13
                                        Attorneys for Defendant Los Angeles County
  14                                    Sheriff’s Department
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  16
       DATED: February 28, 2023         MILLER BARONDESS, LLP
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  18
  19
                                        By:          /s/ Jason Tokoro
  20                                                JASON H. TOKORO
  21                                    Attorneys for Defendants County of Los
  22                                    Angeles, Los Angeles county Fire Department,
                                        Joey Cruz, Rafael Mejia, Michael Russell, Raul
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                                        Versales, Arlin Kahan and Tony Imbrenda
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                JOINT NOTICE OF SETTLEMENT AND STIPULATION TO AMEND COMPLAINT
                                     AND SET CASE DEADLINES
Case 2:20-cv-09582-JFW-E Document 487 Filed 02/28/23 Page 6 of 6 Page ID #:38222




   1                                ECF CERTIFICATION
   2        I, Luis Li, attest under Local Rule 5-4.3.4(a)(2)(i) that all signatories
   3 listed, and on whose behalf the filing is submitted, concur in the filing’s
   4 content and have authorized this filing.
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   6 DATED: February 28, 2023                                 /s/ Luis Li
                                                                Luis Li
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                 JOINT NOTICE OF SETTLEMENT AND STIPULATION TO AMEND COMPLAINT
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